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                      IN THE UNITED STATES BANKRUPTCY COURT

                       FOR THE EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF:                                                 NO. 19-10418

 RITZMANN, STEVEN                                                  SECTION A


 D E B T O R (S)                                                   CHAPTER 7


            TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT

               TO THE HONORABLE, THE JUDGES IN BANKRUPTCY FOR SAID
DISTRICT:

               The petition of the undersigned Trustee of the estate of the above-named
Debtor(s), with respect represents:

                 On the grounds that there is no equity in the hereinafter described property for the
estate of the above named debtor(s) over and above such mortgage and/or other liens as may
affect the said property and such exemptions as may apply thereto, or that if there is any such
equity, it is not sufficient to justify administration.

                 The undersigned Trustee (in his official capacity under Federal Law) as
representative of the estate of the Debtor(s), does by these presents, subject to the approval of
this Court (which approval is hereby prayed for), disclaim and abandon all such right, title and
interest of the said Debtor(s)'s estate in and to the following described property:

        ! Non-Exempt Household Goods and Furnishings, as being unworthy of
          administration;
        ! 2011 Infiniti M37, as being encumbered in excess of its value;
        ! TV, cell phone, Ipad, and computer, as being unworthy of administration;
        ! Watches, as being unworthy of administration; and
        ! Disney Vacation Club points (timeshare), as being unworthy of administration;
          and otherwise, as being a burden to the estate to pursue.

Date:    March 20, 2019                           S/Wilbur J. “Bill” Babin, Jr.
                                              WILBUR J. "BILL" BABIN, JR., TRUSTEE
                                              3027 Ridgelake Drive
                                              Metairie, LA 70002
                                              Telephone: 837-1230
